               Case 18-30975-KKS      Doc 38   Filed 03/02/19   Page 1 of 6



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION


In re:                                          Case No.: 18-30975-KKS
                                                Chapter 7
John Stewart Seibert and
Alice Leigh Seibert,
              Debtor.
                                  /


                MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                             NOTICE OF OPPORTUNITY TO
                              OBJECT AND FOR HEARING

            Pursuant to Local Rule 2002-2, the Court will consider the relief
     requested in this paper without further notice or hearing unless a party in
     interest files a response within days from the date set forth on the
     proof of service plus an additional three days for service if any party was
     served by U.S. Mail, or such other period as may be specified in Fed. R.
     Bankr. P. 9006(f).
            If you object to the relief requested in this paper, you must file an
     objection or response electronically with the Clerk of the Court or by mail
     at 110 E. Park Avenue, Suite 100, Tallahassee, FL, 32301 and serve a copy
     on the movant’s attorney, Leslie Rushing, Esq., 1475 Centrepark Blvd.,
     Suite 130, West Palm Beach, Florida 33401, and any other appropriate
     person within the time allowed. If you file and serve a response within the
     time permitted, the Court will either schedule and notify you of a hearing or
     consider the response and grant or deny the relief requested without a
     hearing.
            If you do not file a response within the time permitted, the Court will
     consider that you do not oppose the relief requested in the paper, will
     proceed to consider the paper without further notice or hearing, and may
     grant the relief requested.

         COMES NOW, Lakeview Loan Servicing, LLC, by and through its attorneys Leslie

Rushing, Quintairos, Prieto, Wood & Boyer, P.A., and respectfully moves this Court for an
                                           1
               Case 18-30975-KKS         Doc 38      Filed 03/02/19    Page 2 of 6



order granting Creditor relief from stay and, to recover and dispose of its real property located at

674 Waterview Cove Dr., Freeport, Florida 32439 purchased by Debtors financed by Creditor,

and more particularly described in the documents attached hereto. Grounds for this motion are as

follows:


       1.      Debtor filed a voluntary Chapter 13 Bankruptcy on October 26, 2018.

       2.      Pursuant to the provisions of 11 U.S.C. § 362(d)(1), upon request of a party in

interest, the court shall grant relief from the stay for cause including lack of adequate protection

of an interest in property.


       3.      Lakeview Loan Servicing, LLC is the holder of a Note and Mortgage for the

real property located at 674 Waterview Cove Dr., Freeport, Florida 32439 and described as:




(copies of Note and Mortgage are attached hereto as Composite Exhibit “A”).


       4.      Debtor has defaulted under the terms of the Note and Mortgage by failing to make

regular payments when due and owing pursuant to Note and Mortgage. The account is due for

the October 1, 2017 payment.


       5.       There remains due and owing on the Note and Mortgage referenced in paragraph

three hereof, the sum of $247,908.60, as of February 8, 2019, plus interest which does not reflect

attorney fees and costs associated with the filing of this Motion for Relief from the Automatic



                                                 2
               Case 18-30975-KKS          Doc 38      Filed 03/02/19     Page 3 of 6



Stay. Attached hereto as Exhibit “B” is an Affidavit in support of this Motion for Relief from

Automatic Stay.


       6.      According to Walton County Property Appraiser the value of the property is

$188,265.00. A copy is attached as Exhibit “C”.


       7.      Creditor is not adequately protected as there is no equity in the property and no

payments are being made by Debtor.


       8.      The property is listed as retain on modified terms in the statement of intentions

filed by the Debtor.


       9.      Upon information and belief, Movant is informed that no other party has an

 interest in the above referenced property.


      10.      Movant is entitled to relief from stay to recover possession of the property and

liquidate its security interest as it lacks adequate protection in the bankruptcy.

       WHEREFORE, Movant, Lakeview Loan Servicing, LLC, prays this Honorable Court

order that the automatic stay be terminated so as to permit Movant to proceed to enforce its

security interest in its property pursuant to state law, that the Order is binding and effective

despite any conversion of this bankruptcy case to a case under any other chapter of Title 11 of

the United States Code, to waive the 14-day stay requirement, for attorney fees and costs and any

other further relief the Court may deem just and equitable.


                                              Respectfully submitted,

Dated: 0DUFK, 2019                              /s/ Leslie Rushing
                                               Leslie Rushing, Esq.
                                               Florida Bar No. 98106
                                                  3
Case 18-30975-KKS   Doc 38    Filed 03/02/19   Page 4 of 6



                       Quintairos, Prieto, Wood & Boyer, P.A.
                       1475 Centrepark Blvd., Suite 130
                       West Palm Beach, FL 33401
                       Telephone: (561) 686-1880 x 1311
                       Fax: (561) 686-1886
                       Primary Email:
                       leslie.rushing@qpwblaw.com
                       Secondary Email:
                       flndbknotices@qpwblaw.com




                          4
               Case 18-30975-KKS         Doc 38      Filed 03/02/19       Page 5 of 6



                                 CERTIFICATE OF SERVICE

         I certify that I have caused to be served a copy of the foregoing Motion for Relief, by
first class mail, postage prepaid and/or by CM/ECF electronic filing upon the parties listed
below.

Dated: 0DUFK, 2019                                 /s/ Leslie Rushing
                                              Leslie Rushing, Esq.
                                              Florida Bar No. 98106

Copies Furnished To:

By CM/ECF Receipt:

Teresa M. Dorr
Zalkin Revell, PLLC
2441 US Highway 98, Suite 109
Santa Rosa Beach, FL 32459
850-267-2111
Fax : 850-560-7111
Email: tdorr@zalkinrevell.com

Natasha Z. Revell
Zalkin Revell, PLLC
Waterside Business Center
2441 US Highway 98W, Ste. 109
Santa Rosa Beach, FL 32459
850-267-2111
Fax : 866-560-7111
Email: tasha@zalkinrevell.com

Trustee
Mary W. Colon
P.O. Box 14596
Tallahassee, FL 32317

U.S. Trustee
United States Trustee
110 E. Park Avenue
Suite 128
Tallahassee, FL 32301

By First Class Mail:

John Stewart Seibert and

                                                 5
            Case 18-30975-KKS   Doc 38   Filed 03/02/19   Page 6 of 6



Alice Leigh Seibert
674 Waterview Cove Drive
Freeport, FL 32439




                                     6
